                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                  Case No. 17-01480-SHG
EFRIN MATTHEW CARDENAS                                                                  Chapter 13
TRISHA LYNNETTE CARDENAS
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: estrellam              Page 1 of 3                   Date Rcvd: Sep 18, 2018
                               Form ID: nch13pln            Total Noticed: 67


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 20, 2018.
db/jdb        #+EFRIN MATTHEW CARDENAS,    TRISHA LYNNETTE CARDENAS,     2150 W ALAMEDA RD UNIT 1271,
                 PHOENIX, AZ 85085-1916
cr             +U.S. BANK NATIONAL ASSOCIATION,    14841 Dallas Parkway, Suite 300,      Dallas, TX 75254-7883
14429125       +ARIZONA DEPARTMENT OF REVENUE,    ATTENTION BK PAYMENT UNIT,     c/o 1275 W WASHINGTON ST.,
                 PHOENIX, AZ 85007-2926
14417199       +Alhambra Credit Union,    7339 N 35th Ave,    Phoenix AZ 85051-7479
14417204       +Asset Recovery Solutions,    2200 E DEVON AVE STE 200,     Des Plaines IL 60018-4501
14417205       +Brown Olcott PLC,    5201 N 7th Ave,    Phoenix AZ 85013-1924
14417206       +Bureau Of Medical Economics,    Attn: Bankruptcy,     Po Box #20247,    Phoenix AZ 85036-0247
14576570        CAPITAL ONE, N.A.,    C/O BECKET AND LEE LLP,    PO BOX 3001,    MALVERN PA 19355-0701
14427842       +CMRE Financial Services,    3075 E Imperisal Hwy Ste 200,     Brea CA 92821-6753
14417209       +Central Credit Services,    9550 Regency Square Blvd Ste 500,     Jacksonville FL 32225-8169
14417210       +Client Services Inc,    3451 Harry S Truman Blvd,     Saint Charles MO 63301-9816
14594951        Department Stores National Bank,     c/o Quantum3 Group LLC,    PO Box 657,
                 Kirkland, WA 98083-0657
14417216       +Department Stores National Bank (DSNB),     Attn: Bankruptcy,    PO Box 8053,
                 Mason OH 45040-8053
14427843       +Desert Valley Radiology PLC,    4045 E BELL RD #143,     Phoenix AZ 85032-2239
14417217        Encore Receivable Management Inc,     PO BOX 3330,    Olathe KS 66063-3330
14417218       +Firstsource Advantage LLC,    205 Bryant Woods South,     Amherst NY 14228-3609
14417219       +Galaxy International Purchasing LLC,     PO BOX 27740,    Las Vegas NV 89126-7740
14427844       +HonorHealth Physican Network Billing,     2500 W Utopia Rd #100,     Phoenix AZ 85027-4172
15061817        Indira Smjecanin,    Leonard McDonald,    Seventh Floor Camelback Esplanade II,
                 2525 E. Camelback Rd, Phoenix, AZ 85016
14427845       +Lab Corp,   PO BOX 2240,    Burlington NC 27216-2240
14427846       +Lisa D Waller aka Lisa D Tadano,     11223 N 34 Dr,    Phoenix AZ 85029-4111
14417224       +Mark A. Kirkorsky PC,    PO BOX 25287,    Tempe AZ 85285-5287
14569926       +Pinnacle Credit Services, LLC its successors and,      assigns as assignee of Cellco,
                 Partnership d/b/a Verizon Wireless,     Resurgent Capital Services,     PO Box 10587,
                 Greenville, SC 29603-0587
14427848        Sonora Quest Laboratories,    PO BOX 52880,    Phoenix AZ 85072-2880
14476911       +SunWest Federal Credit Union,    c/o Robert C. Williams,     Gust Rosenfeld, P.L.C.,
                 One E. Washington, Suite 1600,    Phoenix, AZ 85004-2553
14417234       +TD Retail Card Service,    1000 Macarthur Blvd,     Mahwah NJ 07430-2035
14516755       +TD Retail Card Services,    c/o Creditors Bankruptcy Service,     P.O. Box 800849,
                 Dallas, TX 75380-0849
14417233       +Target,   C/O Financial & Retail Srvs,     Mailstopn BT POB 9475,     Minneapolis MN 55440-9475
14417235       +Tiffany & Bosco,   2525 E Camelback Rd FL 7,     Phoenix AZ 85016-9239
14541390      ++US BANK,   PO BOX 5229,    CINCINNATI OH 45201-5229
               (address filed with court: U.S. Bank National Association,       c/o U.S. Bank Home Mortgage,,
                 a division of U.S. Bank NA,    4801 Frederica Street,     Owensboro, Kentucky 42301)
14417236       +US Bank Home Mortgage,    Attn: Bankruptcy,    PO Box 5229,    Cincinnati OH 45201-5229
14417237       +Villagio at Happy Valley Condo Assoc.,     c/o Brown Olcott PLLC,     373 S. Main Ave,
                 Tucson, AZ 85701-2225

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcynotices@azdor.gov Sep 19 2018 01:36:48        AZ DEPARTMENT OF REVENUE,
                 BANKRUPTCY & LITIGATION,    1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
14417203       +E-mail/Text: legal@arsnational.com Sep 19 2018 01:37:48       ARS National Services Inc,
                 201 W Grand Ave,    Escondido CA 92025-2603
14417198        E-mail/Text: mtamsett@adminrecovery.com Sep 19 2018 01:39:17       Admin Recovery LLC,
                 45 Earhart Dr Ste 102,    Williamsville NY 14221-7809
14427841        E-mail/Text: bkrpt@retrievalmasters.com Sep 19 2018 01:38:18
                 American Medical Collection Agency,     PO BOX 1235,   Elmsford NY 10523-0935
14417200        E-mail/Text: bankruptcynotices@azdor.gov Sep 19 2018 01:36:48        Arizona Dept of Revenue,
                 Special Operations Section,    1600 W MONROE ST RM 720,    PHOENIX AZ 85007-2612
14417202       +E-mail/Text: bankruptcy.notices@arizonafederal.org Sep 19 2018 01:39:28        Arizona Federal,
                 Attn: Risk Management,    Po Box 60070,    Phoenix AZ 85082-0070
14417201       +E-mail/Text: bankruptcy.notices@arizonafederal.org Sep 19 2018 01:39:28        Arizona Federal,
                 Attn: Bankruptcy,    PO Box 60070,   Phoenix AZ 85082-0070
14417207       +E-mail/Text: bankruptcy@cavps.com Sep 19 2018 01:39:00       Calvary Portfolio Services,
                 500 Summit Lake Ste 400,    Valhalla NY 10595-2322
14417208       +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Sep 19 2018 01:50:07        Capital One,
                 Attn: General Correspondence/Bankruptcy,     Po Box 30285,   Salt Lake City UT 84130-0285
14412170       +E-mail/Text: bankruptcy@cavps.com Sep 19 2018 01:39:00       Cavalry SPV I, LLC,
                 500 Summit Lake Drive, Ste 400,    Valhalla, NY 10595-2321
14417212        E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Sep 19 2018 01:37:51        Comenity Bank,
                 PO BOX 182125,    Columbus OH 43218-2125
14417211       +E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Sep 19 2018 01:37:51        Comenity Bank,
                 dba Express Card,    220 W Schrock Rd,    Westerville OH 43081-2873
14417213        E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Sep 19 2018 01:37:52        Comenity Bank/the Buckle,
                 Po Box 18215,    Columbus OH 43218
District/off: 0970-2           User: estrellam             Page 2 of 3                   Date Rcvd: Sep 18, 2018
                               Form ID: nch13pln           Total Noticed: 67


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
14417214       +E-mail/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM Sep 19 2018 01:37:52        Comenitycb/gordon,
                 Comenity Bank,    Po Box 182125,    Columbus OH 43218-2125
14417215       +E-mail/Text: csivels@creditcorpsolutionsinc.com Sep 19 2018 01:39:56
                 Credit Corp Solutions Inc,    dba Tasman Credit Corp,     180 Election Rd Ste 200,
                 Draper UT 84020-6406
14417220       +E-mail/Text: bknotice@healthcareinc.com Sep 19 2018 01:39:52        Healthcare Collections, Llc,
                 Attn: Bankruptcy,    Po Box 82910,    Phoenix AZ 85071-2910
14417221        E-mail/Text: cio.bncmail@irs.gov Sep 19 2018 01:37:22        Internal Revenue Service,
                 Centralized Insolvency Operations,     PO BOX 7346,    Philadelphia PA 19101-7346
14417222       +E-mail/Text: bnckohlsnotices@becket-lee.com Sep 19 2018 01:37:14        Kohls/Capital One,
                 Kohls Credit,    Po Box 3043,    Milwaukee WI 53201-3043
14417223       +E-mail/PDF: resurgentbknotifications@resurgent.com Sep 19 2018 01:49:19         LVNV Funding LLC,
                 c/o Resurgent Capital Services,     PO BOX 10497,    Greenville SC 29603-0497
14547888        E-mail/PDF: resurgentbknotifications@resurgent.com Sep 19 2018 01:49:02
                 LVNV Funding, LLC its successors and assigns as,      assignee of NCOP X, LLC,
                 Resurgent Capital Services,    PO Box 10587,    Greenville, SC 29603-0587
14578707        E-mail/PDF: resurgentbknotifications@resurgent.com Sep 19 2018 01:51:58
                 LVNV Funding, LLC its successors and assigns as,      assignee of GE Money Bank,
                 Resurgent Capital Services,    PO Box 10587,    Greenville, SC 29603-0587
14563339       +E-mail/Text: bankruptcydpt@mcmcg.com Sep 19 2018 01:38:19        MIDLAND FUNDING LLC,
                 PO BOX 2011,   WARREN, MI 48090-2011
14417225        E-mail/Text: bankruptcydpt@mcmcg.com Sep 19 2018 01:38:19        Midland Credit Management,
                 Attn: Bankruptcy,    PO BOX 60578,    Los Angeles CA 90060-0578
14417226       +E-mail/Text: bankruptcydpt@mcmcg.com Sep 19 2018 01:38:19        Midland Funding,
                 Attn: Bankruptcy,    2365 Northside Dr Ste 300,     San Diego CA 92108-2709
14417227       +E-mail/Text: bnc@nordstrom.com Sep 19 2018 01:37:18        Nordstrom Fsb,    Correspondence,
                 PO Box 6555,   Englewood CO 80155-6555
14417228        E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 19 2018 01:50:13
                 Portfolio Recovery Associates LLC,     130 Corporate Blvd,    Norfolk VA 23502
14593078        E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 19 2018 01:53:08
                 Portfolio Recovery Associates, LLC,     POB 12914,    Norfolk VA 23541
14482669        E-mail/Text: bnc-quantum@quantum3group.com Sep 19 2018 01:38:06
                 Quantum3 Group LLC as agent for,     Galaxy International Purchasing LLC,     PO Box 788,
                 Kirkland, WA 98083-0788
14420420        E-mail/Text: bnc-quantum@quantum3group.com Sep 19 2018 01:38:06
                 Quantum3 Group LLC as agent for,     Credit Corp Solutions Inc,    PO Box 788,
                 Kirkland, WA 98083-0788
14427847       +E-mail/Text: bkdepartment@rtresolutions.com Sep 19 2018 01:38:52        Real Time Resolutions,
                 1349 Empire Central Dr Ste 150,     Dallas TX 75247-4029
14417229       +E-mail/Text: bankruptcy@sccompanies.com Sep 19 2018 01:40:12        Seventh Avenue,
                 Seventh Avenue, Inc,    1112 7th Ave,    Monroe WI 53566-1364
14417230       +E-mail/Text: agronek@mysunwest.com Sep 19 2018 01:40:13        SunWest Federal Credit Union,
                 11839 N 28th Dr,    Phoenix AZ 85029-3395
14417231        E-mail/PDF: gecsedi@recoverycorp.com Sep 19 2018 01:48:47        Synchrony Bank dba Walmart,
                 Attn: Bankruptcy Dept,    PO BOX 965060,    Orlando FL 32896-5060
14417232       +E-mail/PDF: gecsedi@recoverycorp.com Sep 19 2018 01:48:46        Synchrony Bank/Care Credit,
                 Attn: Bankruptcy,    Po Box 956060,    Orlando FL 32896-0001
14592279       +E-mail/Text: bncmail@w-legal.com Sep 19 2018 01:38:50        TD Bank USA, N.A.,
                 C/O Weinstein & Riley P.S.,    2001 Western Ave Ste. 400,     Seattle, WA 98121-3132
                                                                                                TOTAL: 35

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr               Indira Smjecanin
cr*             +SunWest Federal Credit Union,   c/o Robert C. Williams,     Gust Rosenfeld, P.L.C.,
                  One E. Washington,   Suite 1600,    Phoenix, AZ 85004-2553
14429127*       +ARIZONA DEPARTMENT OF REVENUE,    ATTENTION BK PAYMENT UNIT,    c/o 1275 W WASHINGTON ST.,
                  PHOENIX, AZ 85007-2926
14427849      ##+Van Ru Credit Corp,   1350 E Touhy Ave Ste 300E,    Des Plaines IL 60018-3342
                                                                                               TOTALS: 1, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.    Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.
District/off: 0970-2                  User: estrellam                    Page 3 of 3                          Date Rcvd: Sep 18, 2018
                                      Form ID: nch13pln                  Total Noticed: 67


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 20, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 17, 2018 at the address(es) listed below:
              DANIEL E GARRISON    on behalf of Joint Debtor TRISHA LYNNETTE CARDENAS dan@turnaroundteam.com,
               teresie@turnaroundteam.com,brian@turnaroundteam.com,kyle@turnaroundteam.com,
               paula@turnaroundteam.com
              DANIEL E GARRISON    on behalf of Debtor EFRIN MATTHEW CARDENAS dan@turnaroundteam.com,
               teresie@turnaroundteam.com,brian@turnaroundteam.com,kyle@turnaroundteam.com,
               paula@turnaroundteam.com
              KYLE A. KINNEY    on behalf of Joint Debtor TRISHA LYNNETTE CARDENAS kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              KYLE A. KINNEY    on behalf of Debtor EFRIN MATTHEW CARDENAS kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              LEONARD 3 MCDONALD, JR.    on behalf of Creditor   Indira Smjecanin ecf@tblaw.com
              LEONARD 3 MCDONALD, JR.    on behalf of Creditor   U.S. BANK NATIONAL ASSOCIATION ecf@tblaw.com
              ROBERT C WILLIAMS    on behalf of Creditor   SunWest Federal Credit Union rwilliams@gustlaw.com,
               tkendell@gustlaw.com
              RUSSELL BROWN     ecfmailclient@ch13bk.com
              RUSSELL BROWN     on behalf of Trustee RUSSELL BROWN ecfmailclient@ch13bk.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 10
FORM nch13pln
REVISED 06/04/2018



                                UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF ARIZONA

In re:                                                        Case No.: 2:17−bk−01480−SHG

    EFRIN MATTHEW CARDENAS                                    Chapter: 13
    2150 W ALAMEDA RD UNIT 1271
    PHOENIX, AZ 85085
    SSAN: xxx−xx−7432
    EIN:

    TRISHA LYNNETTE CARDENAS
    2150 W ALAMEDA RD UNIT 1271
    PHOENIX, AZ 85085
    SSAN: xxx−xx−6635
    EIN:

Debtor(s)

                        NOTICE OF DATE TO FILE OBJECTION TO CHAPTER 13 PLAN

    Notice is hereby given that the Debtor(s) have filed the enclosed or attached Chapter 13 Plan. Pursuant to Local
Rules 2084−9 and 2084−10, plan confirmation is governed by the following procedures:

1. Any objection by a creditor to the plan must be in writing and filed within the Bankruptcy Court, and copies
served on the following parties, no later than 14 days after the original date set for the meeting of creditors, or any
continuance thereof, or reinstatement of the case, or 28 days after service, whichever is later:
Address of the Bankruptcy Clerk's Office                          U.S. Bankruptcy Court, Arizona
                                                                  230 North First Avenue, Suite 101
                                                                  Phoenix, AZ 85003−1727

Address of Trustee                                                RUSSELL BROWN
                                                                  CHAPTER 13 TRUSTEE
                                                                  SUITE 800
                                                                  3838 NORTH CENTRAL AVENUE
                                                                  PHOENIX, AZ 85012−1965

Address of Debtor(s)                                              EFRIN MATTHEW CARDENAS
                                                                  2150 W ALAMEDA RD UNIT 1271
                                                                  PHOENIX, AZ 85085

                                                                  TRISHA LYNNETTE CARDENAS
                                                                  2150 W ALAMEDA RD UNIT 1271
                                                                  PHOENIX, AZ 85085

Address of Debtor(s) Attorney                                     DANIEL E GARRISON
                                                                  THE TURNAROUND TEAM
                                                                  1166 E WARNER RD STE 205
                                                                  GILBERT, AZ 85296


                                   − − − NOTICE CONTINUES ON NEXT PAGE − − −
2.   The Trustee is to file a Recommendation within 28 days after the above date for creditor objections.

3. If creditors file no objections and the Trustee recommends confirmation, the Court may confirm the Plan without
a hearing.

4. If a creditor files an objection and/or the Trustee does not recommend confirmation, the Court may confirm a
plan without a hearing, provided the Trustee and all objecting creditors agree to a stipulated confirmation order. If
unable to so agree and stipulate, the Trustee or objecting creditor shall set the matter for hearing and provide notice to
the Debtor(s) and each objecting party.

5. For an original plan, the failure of a party in interest to timely file an objection to confirmation of the Plan
shall constitute acceptance of the Plan pursuant to 11 U.S.C. Section 1325(a)(5)(A), and a waiver of the
requirement under Section 1324 that the Court hold a confirmation hearing within 45 days after the date of the
meeting of creditors.



Date: September 18, 2018

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                            George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov
